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                                                        Nathan Ochsner, Clerk of Court


Date: February 13, 2023
                                                         s/ Brittany Boniface
                                                         Signature of Clerk or Deputy Clerk
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                                                        Nathan Ochsner, Clerk of Court


Date: February 13, 2023
                                                         s/ Brittany Boniface
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